                              Case 1:22-cv-00475-WFK-CLP Document 1-1 Filed 01/26/22 Page 1 of 5 PageID #: 10

                                                           Exhibit A to the Complaint
Location: Staten Island, NY                                                                          IP Address: 68.161.148.106
Total Works Infringed: 39                                                                            ISP: Verizon Fios
 Work       Hashes                                                                 UTC        Site          Published     Registered   Registration
 1          Info Hash:                                                             01-10-     Blacked       01-08-2022    01-17-2022   PA0002330123
            F26FDE6BD23F68FE5E5569A5313EB3C27F6CFBCC                               2022
            File Hash:                                                             18:42:09
            28B282CEB6FF79D3B0A635E6C4ED1E5FC7ACCEF91704C969E390D4B683F06112
 2          Info Hash:                                                             01-10-     Vixen         01-07-2022    01-17-2022   PA0002330115
            292BF11BD8CB44D0B875E269DD38099A595089D7                               2022
            File Hash:                                                             18:23:39
            77F60F661195680454890382321D3B15E850D94686DFF90F1A824E3960765388
 3          Info Hash:                                                             01-10-     Tushy         01-09-2022    01-17-2022   PA0002330112
            86609AEE90D51A0CC998BC283178D88A87EF1E99                               2022
            File Hash:                                                             18:18:01
            AAE0D0DE3B4C45CFF4784E94CFE3C4064820E4417F9D87874006EC01ACD20533
 4          Info Hash:                                                             01-03-     Vixen         12-03-2021    12-09-2021   PA0002325832
            80AF076F6C1160D3C725D122B231D1FB303D0F4C                               2022
            File Hash:                                                             18:25:36
            62EC791626E5D11273AE5DDBF54EB6CCF7F494AB862F489E2BE915FC2E59369C
 5          Info Hash:                                                             01-03-     Blacked       12-18-2021    01-17-2022   PA0002330124
            C0D4107E04E04CB2DB6760276B9C954E263A906F                               2022
            File Hash:                                                             18:01:22
            352B7BD6B445657FF119CF8AE50738B5898F6F4208344C6B79038BF4F0D9660E
 6          Info Hash:                                                             01-01-     Vixen         12-31-2021    01-17-2022   PA0002330094
            5025538735BFCF082FE970A50CA9956565465E8C                               2022
            File Hash:                                                             17:50:28
            8664013FCAB89E420EE1226850E9225DF4FF5128415749702B09F7BCBAE49610
 7          Info Hash:                                                             12-30-     Blacked       12-27-2021    01-17-2022   PA0002330095
            B4335AD97FF7CF0943771716CC99606D31E7385F                               2021       Raw
            File Hash:                                                             16:03:50
            ED3CF6DC928D78ED1E3160E51409EBC64482DD1F817494ACE99081B4C207B091
 8          Info Hash:                                                             11-06-     Blacked       06-29-2018    07-26-2018   PA0002112160
            5D16EC2FE6C9F9FA9F5476C90525208D413532F1                               2021
            File Hash:                                                             22:51:07
            247DCE33E47A1EC566200C820669478595511EF53F3A644E15EBEE009FBBD0A0
                      Case 1:22-cv-00475-WFK-CLP Document 1-1 Filed 01/26/22 Page 2 of 5 PageID #: 11

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         10-18-     Tushy     10-17-2021   11-11-2021   PA0002321294
       F09E4A8416D08FFC24C916C4C84A72DA02DB9560                           2021
       File Hash:                                                         18:01:46
       89E659B924CC18F157F35A3DF4ED59A3D40411F854BE952355132749FD7D4EBC
10     Info Hash:                                                         10-13-     Vixen     10-08-2021   11-11-2021   PA0002321269
       396A3F317A157059E7610838BA2088DE98256DFE                           2021
       File Hash:                                                         16:19:17
       BB099378DCD005C047DCD6E604E84641D76658FF25BCBE2111D4FE11A6D8C22E
11     Info Hash:                                                         10-13-     Blacked   10-09-2021   10-19-2021   PA0002317059
       99B242DC36E5F0DDCFC33A8BC28E73BEDE7E7170                           2021
       File Hash:                                                         16:14:17
       4DF69A216C5F16C55023C1D591F7DB2AA2AFAEB1960728EC6B75C9CD50E8FA51
12     Info Hash:                                                         07-20-     Blacked   07-19-2021   08-23-2021   PA0002308404
       78C873501492EA619643DAB5B1D72441BE7DD47E                           2021       Raw
       File Hash:                                                         15:48:41
       1E7AB500DC527AC7285E0A175234CE7AEC371738FE5B197672CBB98603C79134
13     Info Hash:                                                         07-19-     Tushy     07-18-2021   08-02-2021   PA0002305087
       A9D72898F59A38BD6BE680AB25DFBDDC450837AF                           2021
       File Hash:                                                         13:48:11
       E9822B37E4B39490EEC209FF6DDAFBA77E8776075369F25C361AB8194857EA3E
14     Info Hash:                                                         07-18-     Blacked   07-17-2021   08-02-2021   PA0002305089
       C9C42C08E1280A6B9E274FE4534A769ACB2B96DD                           2021
       File Hash:                                                         18:21:39
       681DD5C4B0494BFC1CF4B0AE132F0B1361284BBF488A8D49A7029401CD55105E
15     Info Hash:                                                         07-12-     Tushy     07-11-2021   09-21-2021   PA0002312668
       7211579BADABFFEE9C49E32F2733C3300F5861BB                           2021
       File Hash:                                                         12:50:49
       3A80319DA6D5C9A9C63AE386CB859EF047F9D6A309989DBAB64B608486D76B5E
16     Info Hash:                                                         07-11-     Vixen     07-09-2021   08-20-2021   PA0002312016
       222B16167DB2F3D7C4B1FD0126FF4CD690CCC949                           2021
       File Hash:                                                         14:15:00
       5E4C939E1A6376733ED50A1750625A65FA8E08E2119898F459DEE9AD88D0C498
17     Info Hash:                                                         07-04-     Vixen     02-05-2021   02-09-2021   PA0002276151
       50DC2EF036DB5594F25ED3B5455050C78A904DBA                           2021
       File Hash:                                                         15:30:34
       A7738C94604F818E7322174C1C3CF630607E4F042BCC1D4531FD37085D33EDF1
                      Case 1:22-cv-00475-WFK-CLP Document 1-1 Filed 01/26/22 Page 3 of 5 PageID #: 12

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         07-04-     Blacked   07-03-2021   08-02-2021   PA0002305091
       66E841DDD72A50FF74298079B63B8046D69081CA                           2021
       File Hash:                                                         15:30:16
       64783253670BAC42DF82F0CC9608EDB50306F7A4E72DE0A5C15320491B71A48A
19     Info Hash:                                                         07-03-     Vixen     07-02-2021   08-20-2021   PA0002312015
       4C4D277A40036C190CCFDDDF8B76E243D25F6D37                           2021
       File Hash:                                                         18:27:20
       4EB9FCBEBC376A05C29B4F19D8073EB83169AC9893DBF6B4C8555D270A41F5F8
20     Info Hash:                                                         06-30-     Blacked   06-26-2021   07-08-2021   PA0002300662
       8653E85ADFC66F2FACB199DDFED8E9E14F3E5573                           2021
       File Hash:                                                         13:30:48
       B31A11000A19FCB59304064245993EEE63E01F14BF15B7D0776CE1173C608E7F
21     Info Hash:                                                         06-30-     Tushy     06-27-2021   08-02-2021   PA0002305088
       4933F704F6A8670559941C0CFB3053BC067C02AA                           2021
       File Hash:                                                         13:25:41
       2D8C472B3A98AE22DFDD842BAE5BADDABCC0E35D9462A69D31C7DF5F8BF897C4
22     Info Hash:                                                         06-30-     Blacked   06-28-2021   07-08-2021   PA0002300664
       D28DB73522EC886FE3C7FF121F08DA1296C83B70                           2021       Raw
       File Hash:                                                         13:15:49
       296984FF61F9590FBD6049CF61271D6BFAE9D17CD3D76DAA5B4CAFD611B822C4
23     Info Hash:                                                         06-21-     Tushy     06-20-2021   08-20-2021   PA0002312019
       355E9314872E848D18908410D9ABEE6F8A90FF4D                           2021
       File Hash:                                                         14:22:47
       BDAF355EA721FB762204B8275ABACCC20500344BA434B841FDEDE13D2BAE012D
24     Info Hash:                                                         06-20-     Blacked   06-19-2021   07-08-2021   PA0002300660
       BD003B2696AC762CEC60A0B915BF59DF4BA8609C                           2021
       File Hash:                                                         15:12:18
       061DBE17EE9F159FD4940903AF326C73F6C2032270AE16679A17F800AE29F85C
25     Info Hash:                                                         06-07-     Tushy     06-06-2021   06-15-2021   PA0002296921
       BDD8DFE941553C738B3BB2B933B08A37F415084E                           2021
       File Hash:                                                         17:19:49
       EA779EC9A0B89E90A68B48717EE67C11B782E39F2A183E8A503BE2AF9F448AD5
26     Info Hash:                                                         05-23-     Vixen     05-21-2021   06-03-2021   PA0002299688
       4031D19D7D549F96EAFB8D3C3C9A3EFB974ED0E9                           2021
       File Hash:                                                         00:25:55
       1B44A3B93C8D36FB5747FC8DDA5778AAFA28BE928A0ABFCB7E99BA1B89E64B21
                      Case 1:22-cv-00475-WFK-CLP Document 1-1 Filed 01/26/22 Page 4 of 5 PageID #: 13

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         05-17-     Tushy     05-16-2021   06-09-2021   PA0002295592
       BCB0DD55AB82CCDD6E1A80DAB194EDB0868F0449                           2021
       File Hash:                                                         00:03:28
       1600CC87C4530C609205CFBAFA660F6B39499F0B9D00742383B63A9046DBF769
28     Info Hash:                                                         05-08-     Blacked   05-07-2021   06-09-2021   PA0002295580
       11A4E44E6E2BDB539F97978E8E61119FE118CF6C                           2021
       File Hash:                                                         17:33:28
       FA6D161E1E2D70E62CA2D361A08E4B9720B41582E308F3FB1AC41FA0A089B6D1
29     Info Hash:                                                         05-08-     Tushy     05-07-2021   06-09-2021   PA0002295578
       70E86FAC775F5F293D73698BC6D50FA901E86056                           2021
       File Hash:                                                         17:33:27
       DEA246633537BCC5B80FF35EC7F279E2BF10C30AC42884BCC44549F547A988AA
30     Info Hash:                                                         05-08-     Vixen     05-07-2021   06-24-2021   PA0002303619
       A8A332CF10B8C1CA9E7ED3533BC5596A3FF94FB6                           2021
       File Hash:                                                         16:47:10
       E4D236F189EEE0A2AADFA225AC92C373ADF987252CB32600DBE24B42B918D9B7
31     Info Hash:                                                         05-03-     Vixen     04-02-2021   06-09-2021   PA0002295593
       ED3D79FFE111C98B93B1C7BC0BD85679C7021253                           2021
       File Hash:                                                         02:38:38
       472B68F43EA56A2FE0F1709D547711545BEC79F0680D2718F683FF85D34052AE
32     Info Hash:                                                         05-03-     Tushy     05-02-2021   06-15-2021   PA0002296917
       93D85D7C7D3242297E84CA836CCDDD6EF57D843B                           2021
       File Hash:                                                         02:30:20
       B6030205D62AE42D41984CD92097E40C9810378BFCCCBD027D1853AC8808C0F6
33     Info Hash:                                                         04-23-     Vixen     04-23-2021   04-27-2021   PA0002288949
       4E09CCA0246A2BF6989481994B04C0BC7C6B8180                           2021
       File Hash:                                                         18:38:58
       B3E7D4C69B1947521E58A91246227A44788A1F197CE0E0769394DEEE8A56BB4D
34     Info Hash:                                                         04-18-     Tushy     04-18-2021   06-03-2021   PA0002299684
       7E2A9DD13F5F81891BFBEE9953863C80CB9FEDC1                           2021
       File Hash:                                                         22:59:09
       9C7CEC2292FBF89F5B4A7EE246A505C52FBDF8A1256F49ADD893EFB7B9BAA4DC
35     Info Hash:                                                         04-18-     Blacked   04-17-2021   06-09-2021   PA0002295585
       937A7E82157326EF5E7CD36C86A0A0EDACC0FF5F                           2021
       File Hash:                                                         16:03:40
       F25B5FBD8E3FF914599D16AB4902E1E3C75E1BABBCCCFAFA1F2ACB124563B9DE
                      Case 1:22-cv-00475-WFK-CLP Document 1-1 Filed 01/26/22 Page 5 of 5 PageID #: 14

Work   Hashes                                                             UTC        Site    Published    Registered   Registration
36     Info Hash:                                                         04-17-     Vixen   04-16-2021   06-09-2021   PA0002295602
       DA9FC5624A00B5B18BEFBCF28AB66119198189DD                           2021
       File Hash:                                                         22:56:52
       A790D67972270A9C923425B5B622571F18871C5E7F96E96867150001EDD3B377
37     Info Hash:                                                         04-10-     Vixen   04-09-2021   06-03-2021   PA0002299683
       AC484C72916F84D64A7F9C826DC219672AA1BAAE                           2021
       File Hash:                                                         17:45:34
       3E7536E95D4992AFA466362597D98989E435C1D7CA5B4277B3BC455B95D59631
38     Info Hash:                                                         03-09-     Tushy   03-07-2021   03-22-2021   PA0002282503
       5D2BFD8E84BEC03B46E445C517DCD6CB7091A545                           2021
       File Hash:                                                         19:58:55
       E72A5AD2FA19999DE3594E4E11E69AAE595C3F128A09DA5E97317E75BBA0CA28
39     Info Hash:                                                         01-31-     Tushy   01-31-2021   02-09-2021   PA0002276144
       FE1B5290193A13F3642F1D6FD536BF6E313D0FF6                           2021
       File Hash:                                                         22:19:31
       66FFB9A362465AB618B6925BE3B0450E0F148A32D0FAD2BF9FFE8253636584C2
